       Case 1:15-cv-06119-AJN-JLC Document 367-2 Filed 06/07/17 Page 1 of 7


Mariners Cove y. Greer noe HO 4 I 15

CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK
                                                    X
MARINER'S COVE SITE B ASSOCIATES,                          Index No. L&T 63974/14

                               Petitioner,
                                                           ORDER WITH
                                                           NOTICE OF ENTRY
           -against-

DR. STEVEN GREER,

                               Respondent.
                                                    X

GENTLEPERSONS:

                    PLEASE TAKE NOTICE that annexed hereto is a true copy of the order of the

Honorable Arlene Hahn dated and entered in the office of the clerk of the Civil Court of the City

of New York, County of New York on March 13, 2015.

Dated: New York, New York
        April 1, 2015


                                                 By:
                                                           The Ab on Law Group, PLLC
                                                           Attorneys for Petitioner
                                                           570 Lexington Avenue, 23rd Floor
                                                           New York, New York 10022
                                                           (212) 686-4401

To:        Dr. Steven Greer
           200 Rector Place
           Apartment 35F
           New York, New York 10280
           (by express overnight mail)
          Case 1:15-cv-06119-AJN-JLC Document 367-2 Filed 06/07/17 Page 2 of 7
CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK: HOUSING PART C
                                                               X
MARINER'S COVE SITE B ASSOCIATES,

                                       Petitioner,                  L & T Index #: 63974/1 4
                       -against-                                    DECISION/ORDER
DR. STEVEN GREER,
                                       Respondent-Tenant,
                                                              -x
HON. ARLENE H. HAHN, J.H.C.

Recitation, as required by CPLR §2219 (a), of the papers considered in the review of petitioner's motion
to dismiss respondent's affirmative defenses and counterclaims, to strike respondent's jury demand, for
summary judgment and use and occupancy, and respondent's cross-motion to dismiss the petition, or in
the alternative, to consolidate this case with a nonpayment proceeding between the parties under Index #
61405/14.

Papers                                                                                   Numbered

Petitioner's Motion, Aff's,Exhibits and Memorandum of Law                                      1
Respondent's Cross-Motion and Opposition, Affidavit and Exhibits
Petitioner's Reply Affirmation in Opposition and Further Support                             3
Petitioner's Sur-Reply Affirmation                                                           4


         Petitioner moves for an order to dismiss respondent's affirmative defenses and counterclaims, to

strike respondent's jury demand, for summary judgment, and for use and occupancy, and respondent

cross-moves to dismiss the petition, or in the alternative, to consolidate this case with a nonpayment

proceeding between the parties under Index #61405/14, in this holdover proceeding based upon

expiration of lease in an unregulated, condominium apartment, in which petitioner seeks possession of

200 Rector Place, Apt. #35F, New York, New York 10280. Petitioner is represented by counsel and

respondent is pro se. After oral argument and in consideration of all papers submitted, the court finds

and decides as follows:

         Petitioner's motion is granted in part and denied in part and respondent's cross-motion is denied

in its entirety for the reasons set forth below.

         The subject premises is an unregulated, condominium apartment which respondent has rented

pursuant to free-market leases since 2002. The initial rent was $2,265.00 and has increased at a fairly

steady pace in yearly lease renewals to $3,395.00 in the May. 2013 lease which expired April 30, 2014.

                                                     1
         Case 1:15-cv-06119-AJN-JLC Document 367-2 Filed 06/07/17 Page 3 of 7

The original lease, renewed yearly until 2014, contains a jury waiver provision in Paragraph 26.

Therefore, respondent's jury demand is stricken.

        Respondent's first affirmative defense of retaliatory eviction stands. Real Property Law § 223-b

is fairly broad with respect to what activities in which a tenant might engage, the retaliation against

which by a landlord might trigger this provision. Respondent was initially notified by letter dated

January 24, 2014 that petitioner would not be renewing his lease. Although Exhibit F to respondent's

answer contains evidence of only two complaints to the City (311) on February 18, 2014 and February

24, 2014, for heat and hot water which were made alter he was notified petitioner would not be renewing

his lease, not before, and although respondent sent many emails to petitioner's managing agent from

2010 through 2012 complaining about the intermittent lack of hot water without notice, and was still

offered renewal leases in 2010, 2011, 2012 and 2013, respondent shows documentation of two

complaints to petitioner regarding lack of water in his building between May, 2013 (the beginning of his

most recent lease) and January 24, 2014, the date of the letter notifying him of petitioner's intent not to

renew, as well as several complaints to petitioner regarding accounting errors during this period.

Respondent also alleges in his answer to having posted articles critical of petitioner on his website,

BatteryPark.TV, during this period. Although it does not appear from his answer that respondent has

alleged or proven facts which trigger the rebuttable presumption that the landlord acted in retaliation in

RPL § 223-b(5), respondent's allegations are sufficient to allow him to raise the defense of retaliatory

eviction. It shall be left to the trial court to decide whether respondent has met his burden to prove this

defense, and if so, whether petitioner can provide a credible explanation of a non-retaliatory motive for

its acts in rebuttal.

        Respondent's second affirmative defense, "no legal fees are due," shall stand. Pursuant to the

terms of the lease, Paragraph 17E, and in accordance with controlling case law, the prevailing party in

this proceeding may recover legal fees. As of the time of the writing of his answer, no prevailing party

existed, and therefore no legal fees were due at that time.

        Respondent's third affirmative defense, "designate old case as closed," is stricken as it is not an

affirmative defense to this proceeding. Nevertheless, this Court granted petitioner's motion to withdraw
         Case 1:15-cv-06119-AJN-JLC Document 367-2 Filed 06/07/17 Page 4 of 7

rent deposited with the Commissioner of Finance in a nonpayment proceeding and further ordered that

once released, the petition would be deemed satisfied and the case dismissed. (L&T Index #: 61405/14,

J. Hahn. 2/26/15)

        Respondent's fourth affirmative defense, "'Petitioner' is no longer in capacity to sue Dr. Greer,"

is stricken. Petitioner is Mariners Cove Site B Associates. Respondent's assertion, even if true, that an

employee of petitioner is no longer employed by petitioner, fails to allege facts sufficient to prove or call

into question petitioner's standing to bring this proceeding.

        With respect to respondent's counterclaims, Paragraph 26 ("Giving up right to trial by jury and

counterclaim") of the original lease between the parties states:

       "A. Both Tenant and Owner agree to give up the right to a trial by jury in a court action,
       proceeding or counterclaim on any matters concerning this Lease, the relationship of
       Tenant and Owner, as Tenant and Owner, or Tenant's use or occupancy of the Apartment.
       . . . B. If Owner begins any court action or proceeding against Tenant which asks that
       Tenant be compelled to move out, Tenant cannot make a counterclaim unless Tenant is
       claiming that Owner has not done what Owner is supposed to do about the condition of
       the Apartment or the Building which has rendered the same dangerous or hazardous to the
       life, health and/or safety of Tenant.

        In light of this provision, all of respondent's counterclaims are stricken except the Fourth,

alleging breach of warranty of habitability. The balance of respondent's counterclaims are severed and

preserved for a plenary proceeding, should respondent choose to pursue them.

        The Court denies petitioner's motion for summary judgment as there exist triable issues of fact

regarding respondent's affirmative defense of retaliatory eviction. However, the Court grants petitioner

an award of any and all unpaid use and occupancy from April, 2014 through March, 2015, to be paid

directly to petitioner (respondent is specifically ordered not to deposit this money in court) by April 10,

2015, as well as use and occupancy, pendente lite, at the rate of the last lease in effect, without prejudice,

by the tenth day of each month from April, 2015 through the date of the trial decision. Respondent's

cross-motion to dismiss is denied for failure to state a legal basis upon which the Court could grant its

motion. Further, respondent's cross-motion to consolidate this matter with the nonpayment proceeding

between the parties under L & T Index #61405/14 is denied, consistent with the order of this Court in

that matter (J. Hahn, 2/26/15).
                                                       3
        Case 1:15-cv-06119-AJN-JLC Document 367-2 Filed 06/07/17 Page 5 of 7

       Accordingly, the case is restored to the calendar on May 1, 2015 for trial in Part C, room 844, at

9:30 a.m.

       The foregoing constitutes the decision and order of this court.

Dated: New York, New York
       March 13, 2015
                                                                     HON. ARLENE H. HAHN, J.H.C.




                                                ivil Court
                                                 of the
                                           City r -t'T'?.1141 York

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                                         NEVI VARA'. f.:0 4h417




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                                          Case 1:15-cv-06119-AJN-JLC Document 367-2 Filed 06/07/17 Page 6 of 7


                STATE OF NEW YORK, COUNTY OF
                I. the undersigned, an attorney admitted to practice in the courts of New York State.
                    ❑     con         that the within
                          By
                              Aim`    has been compared by me with the original and found to be to be a true and complete copy
                          Atforfiey's
                          Afffinumon  state that I am
                                      the attorneys) of record for                                                                                    in the within
                        action; I have read the foregoing                                                                        and know the contents thereof:
                        the same is true to my own knowledge, except as to the matters therein alleged to be on information and belief, and as to those matters
                        I believe it to be true. The reason this verification is made by MC and not by




                          The grounds of my belief as to all matters not stated upon my knowledge are as follows:


                I affirm that the foregoing statements arc true, under the penalties of perjury.
                Dated:
                STATE OF NEW YORK, COUNTY OF                                ss.:                                               I Ib lct11K %Wiled ;MN y, mmlof hamsM
                                                         being duly sworn, depose and say: I am
                   ❑      IrKfrockfal in the within action: have read the foregoing
                          *Mom:
                                                                                   and know the contents thereof: the same is true to my own knowledge. except
                          Coxrarron   as to the matters therein stated to be alleged on information and belief.and as to those matters I believe it to be true.
                     El   :A:mfr.:Mum
                                      the                                       of
                a                                                      corporation and a party in the within action: I have read the foregoing
                                                                                       and know the content: thereof and the same is true to my own knowledge.
                       except as to the matters therein stated to be alleged upon information and belief, and as to those matters I believe to be true. This
                       verification is made by me because the above party is a corporation and I am officer thereof.
                The grounds of my belief as to all matters not stated upon my knowledge are as follows:




                Sworn to before me on                                                   20                                             .lbe lam: sip:of .oust Mc profi,•J



                STATE OF NEW YORK. COUNTY OF                                     ss.:                                ill'avite           1•Fillall                   L0[4 I


                I.                                                                            being sworn, say: I am not a party to the action . am over 18 years
                of age and reside at
                On                                         20                      I served the within
                           SePArfie By    by depositing a true copy thereof enclosed in a post-paid wrapper, in an official depository under the exclusive care and
                           MM             custody of the U.S. Postal Service within New York State, addressed to each of the following persons at the last known
                                          address set forth after each name:
                          Pgricroill
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                                          by delivering a true copy thereof personally to each person named below at the address indicated. i knew each person served
   h ApplKobk




                          mei/owing       to be the person mentioned and described in said papers as a party therein:

                          StItifCg   by   by transmitting the papers by electronic means to the telephone number listed below, which number was designated by the
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                                          attorney for such purpose. I received a signal from the equipment of the attorney served indicating that transmission was
                                          received. I also deposited a true copy of the papers, enclosed in a post-paid wrapper, in an official depository under the
                                          exclusive care and custody of the U.S. Postal Service, addressed to the attorney at the address set forth after the name:
                     El   Ofi.s.mghl      by depositing a true copy thereof, enclosed in a wrapper addressed as shown below, into the custody of
                          Delivoly
                          Sunoco                                         for overnight delivery, prior to the latest time designated by that service for overnight delivery.
            Case 1:15-cv-06119-AJN-JLC Document 367-2 Filed 06/07/17 Page 7 of 7
         Index No.     L&T 63974 Year 2014
          CIVIL COURT OF THE CITY OF NEW YORK
          COUNTY OF NEW YORK


             MARINERS COVE SITE B ASSOCIATES,
                                     Petitioner,
                         -against-

             DR. STEVEN GREER,

                                     Respondent




                                               ORDER WITH NOTICE OF ENTRY



                                         The Abramson Law Group, PLLC
                                     attorneys far
                                                        Petitioner
                                          Office and Post Office Address, Telephone
                                              570 Lexington Avenue, 23K1'Floor
                                                   New York, N.Y. 10022
                                                       (212) 686-4401

         To


         Attorneys for



         Service of a copy of the within                                                               is hereby admitted.


         Dated,                                                             Attornt*(9 for


Sir:- Please take notice
0   NOTRif   ut F.TRH'

that the within is a (certified) true copy of a
duly entered in the office of the clerk of the within named court on                                              20
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  that an order                                             of which the within is a true copy will be presented
for settlement to the HON.                                                                    one of the judges
of the within named court, at
on                            20                at                               M.

Dated,                                                                                   Yours, etc.

                                                                     The Abramson Law Group, PLLC
                                                                attarne_vs for


                                                                      Office and Post Office Address, Telephone
